                          UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF TEXAS
                              BROWNSVILLE DIVISION

UNITED STATES OF AMERICA and
STATE OF TEXAS ex rel. DR. JOSE G.
DONES,

            Plaintiffs,
                                           Case No. 1:21-cv-181
v.

HARLINGEN MEDICAL CENTER L.P.,
DR. ERIC G. SIX,
VALLEY NEUROSURGEONS P.L.L.C.,
MICHAEL GONZALES,
NUERA MEDICAL L.L.C., and
PRIME HEALTHCARE SERVICES, INC.

            Defendants.



     MEMORANDUM OF LAW IN SUPPORT OF DEFENDANTS HARLINGEN
     MEDICAL CENTER L.P. AND PRIME HEALTHCARE SERVICES, INC.’S
      MOTION TO DISMISS RELATOR’S FIRST AMENDED COMPLAINT
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                                 STATEMENT OF THE ISSUES

        1. Is Prime Health Services, Inc. (“PHSI”) a proper defendant in this action?

        2. Has Relator pled sufficient allegations of violations of the False Claims Act, Texas

Medicaid Fraud Prevention Act, Stark Law, and Anti-Kickback Statute under the plausibility

standard of Federal Rule of Civil Procedure 8(a) and the more stringent particularity standard

required for claims sounding in fraud under Federal Rule of Civil Procedure 9(b) against Harlingen

Medical Center L.P. (“HMC”) and PHSI?

        3. Under Federal Rule of Civil Procedure 12(b)(6), does Relator fail to state a claim for

violating the False Claims Act, Stark Law, Anti-Kickback Statute, and the Texas Medicaid Fraud

Prevention Act against Prime Healthcare Services, Inc. and Harlingen Medical Center L.P.?

                                    STANDARD OF REVIEW

        To survive a motion to dismiss under Rule 12(b)(6), “a complaint must contain sufficient

factual matter, accepted as true, to state a claim to relief that is plausible on its face.” Ashcroft v.

Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)).

“Where a complaint pleads facts that are merely consistent with a defendant’s liability, it stops

short of the line between possibility and plausibility of entitlement to relief.” Id. (citations

omitted). The complaint must plead facts that “allow[] the court to draw the reasonable inference

that the defendant is liable for the misconduct alleged.” Id. “[B]lanket assertion[s] of entitlement

to relief” are insufficient, as are labels, conclusions, and formulaic recitations of the elements of a

cause of action. Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 556 & n.3 (2007). Conclusory

allegations or allegations that are no more than a statement of a legal conclusion “are not entitled

to the assumption of truth.” Id. at 679. In fact, “[a] pleading that offers ‘labels and conclusions’

or ‘a formulaic recitation of the elements of a cause of action will not do.’” Id. (quoting Twombly,




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550 U.S., at 555). And a complaint that only “tenders ‘naked assertion[s]’ devoid of ‘further

factual enhancement’” likewise fails to suffice. Id. (quoting Twombly, 550 U.S. at 557).

       Rule 9(b) requires that claims sounding in fraud, including False Claims Act allegations,

be plead with particularity. See U.S. ex rel. Grubbs v. Kanneganti, 565 F.3d 180, 185 (5th Cir.

2009). “At a minimum” this requires the plaintiff to “plead the ‘who, what, when, where, and

how’ of the alleged fraud.” U.S. ex rel. Colquitt v. Abbott Lab’ys, 858 F.3d 365, 371 (5th Cir.

2017) (citation omitted). The Fifth Circuit applies Rule 9(b) “to fraud complaints with ‘bite’ and

‘without apology’” because Rule 9(b) serves an important screening function to stand as a

“gatekeeper to discovery, a tool to weed out meritless fraud claims sooner than later.” U.S. ex rel.

Grubbs v. Kanneganti, 565 F.3d 180, 185 (5th Cir. 2009).

                                 SUMMARY OF ARGUMENT

       Relator Dones’s First Amended Complaint (the “FAC”) is precisely the type of complaint

that Rule 9(b) is intended to prevent. As a threshold matter, Relator alleges no facts implicating

PHSI other than that it owns HMC. This is insufficient to establish liability, and all claims against

PHSI should be dismissed. Relator alleges HMC and PHSI and the other co-Defendants violated

the False Claims Act (“FCA”), Texas Medicaid Fraud Prevention Act (“TMFPA”), Stark Law,

and Anti-Kickback Statute (“AKS”) through HMC’s purchase of spinal equipment from NuERA

and Xspine/Xtant. Relator argues that these purchases violate the above-mentioned state and

federal laws because the son-in-law (Michael Gonzalez) of a physician who performs surgeries at

HMC (Dr. Six) has some financial interest in or relationship with the companies. However, Relator

has pled no fact or allegation to demonstrate that the HMC’s business dealings with NuERA and

Xspine/Xtant were anything more than proper business relationships. Relator also has not pled

that any referral scheme existed, or that any improper payments were made from HMC or PHSI to




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Dr. Six or Mr. Gonzales. Instead, Relator relies on labels and conclusions, unsupported by the

facts alleged in the FAC. This is insufficient to survive a motion to dismiss under 9(b) and

12(b)(6).

       The Court should dismiss the FCA and TMFPA claims, including those premised on

violations of the Stark Law and AKS, for failure to plead specific allegations of fraud as required

by Federal Rule of Civil Procedure 9(b). As its name suggests, the submission of a false claim is

an essential element of a False Claims Act violation; a complaint that fails to plead examples of

false claim submissions does not satisfy Rule 9(b). Relator pleads no fact of any allegedly false

claim billed to a federal healthcare program and no indicia of reliability to support the inference

that such claims were likely as required by the Fifth Circuit. The FAC also fails to allege an

underlying scheme with sufficient detail.     For example, Relator identifies no employee or

representative of the HMC or PHSI by name or even position who was involved with the alleged

scheme and fails to identify the relevant time frame the scheme occurred with any specificity,

instead making general reference to a ten-year time frame dating back to 2012. Additionally, the

FAC fails to allege any specific remuneration paid by the HMC or PHSI to Dr. Six or that any

referral took place or resulted from any remuneration in violation of the AKS.

       The elements of a Stark Law violation are also not adequately pled. The majority of prima

facie elements of an FCA claim based on the Stark Law are not pled, including notably the failure

to plead a prohibited financial relationship. The FAC also ignores a critical aspect of pleading an

alleged conspiracy—a meeting or circumstance through which any alleged conspiracy was formed

or executed. Moreover, Relator pleads no detail to separately support a violation of the TMFPA.

Relator has no independent information and leave to amend the FAC would be futile. The court

should dismiss the FAC with prejudice.




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                       PROCEDURAL AND FACTUAL BACKGROUND

    A. Nature of the Proceedings

          Relator Dones filed a qui tam complaint under seal on November 17, 2021. (Dkt. No. 1).

On January 23, 2023, the United States declined to intervene, and shortly thereafter on January 25,

2023, Texas declined to intervene. (Dkt. No. 13-14). Relator filed this First Amended Complaint

on March 27, 2023. (Dkt. No. 18). PHSI and HMC now bring this response to the First Amended

Complaint and seek dismissal of all Counts pled against them under Rules 12(b)(6) and 9(b).

    B. The Parties

          i.     Harlingen Medical Center, L.P. is a level-four trauma designated hospital located

in Harlingen, Texas. Dkt. No 18, Relator’s First Amended Complaint (“FAC”) ¶ 9.

          ii.    Prime Health Services, Inc. is alleged to be the sole general partner of HMC. FAC

¶ 10. 1

          iii.   Relator Dones is a neurosurgeon who practices in the Rio Grande Valley. FAC ¶

3. Relator Dones does not plead that he was ever an employee of HMC, that he has ever been

involved in HMC’s billing or supply chain processes, or that he was privy to any inside information

regarding actual claims submitted by the hospital. He alleges no inside information regarding

HMC’s medical device procurement processes.

    C. Allegations in the Complaint

          At its core, the FAC alleges that the Relator’s competitor and practicing neurosurgeon, Dr.

Six, and HMC entered into a business arrangement violating the Stark Law and AKS. Relator

alleges that the business arrangement, whereby HMC purchased spinal equipment from the



1 This allegation is not correct. PHSI is not the sole general partner of HMC, but we assume the
statement as pled for purposes of a motion to dismiss.


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companies NuERA and Xspine/Xtant at Dr. Six’s request, was improper because Dr. Six’s son-in-

law had a financial interest in or financial relationship with the medical device distributor

companies. Relator also alleges that by allowing Dr. Six to influence the distributors from which

HMC purchased medical devices used in Dr Six’s surgeries, HMC violated the FCA and TMFPA.

The unspecified time period offered by Relator for his allegations is “since at least 2012.” Id. ¶¶

55, 59.

          The Complaint alleges violations of the FCA under 31 U.S.C § 3729(a)(1)(A) (“presenting

false claims”) and 31 U.S.C § 3729(a)(1)(B) (“making or using false records or statements”),

conspiracy to violate the FCA under 31 U.S.C. §3729(a)(1)(C), two counts of violating the

TMFPA under Tex. Human Res. Code Ann. §§ 36.002(1), (4)(B) and conspiracy to violate the

TMFPA under § 36.002(9). The Complaint alleges that violations of the FCA and TMFPA arise

from violations of the Anti-Kickback Statute, 42 U.S.C. § 1320a-7b(b) and the Stark Law, 42

U.S.C. § 1395nn.

          Specifically, the Complaint alleges that Dr. Six’s son-in-law, Michael Gonzales, sells and

distributes medical devices for surgeries, including neurosurgery, through his company, NuERA

Medical. Id. ¶¶ 7-8.       Mr. Gonzales is also alleged to act as a representative and receive

commissions for companies Xspine/Xtant. Id. ¶¶ 46, 50, 67. Relator alleges that Dr. Six asked

HMC to purchase medical devices from NuERA and Xspine/Xtant for his surgeries and that HMC

agreed to allow Dr. Six to use the medical devices he wanted for surgeries as a reward for

performing the surgeries at HMC. Id. ¶¶ 46-48. The FAC alleges that surgeries performed by Dr.

Six at HMC bring revenue to HMC, and to PHSI, as a result of owning HMC. Id. ¶ 46. These

allegations do not allege anything beyond the ordinary course of business. The FAC does not

provide any factual explanation of how HMC allowing Dr. Six to use his preferred medical devices




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from NuERA or Xspine/Xtant in surgeries he performed constituted an improper financial benefit.

There is no explanation for how this business relationship constituted a prohibited referral or

wrongful payment scheme, and no fact is offered to explain any supposed agreement for the benefit

of HMC or Dr. Six beyond an ordinary business relationship in which a physician performs

surgeries with his or her preferred medical devices. The FAC lacks any factual support to explain

knowledge by HMC or PHSI, instead offering only conclusions. See id. ¶ 50 (offering conclusions

but no factual support to explain the basis of knowledge or violation, “HMC, PHS . . . all knew

that Gonzales was Dr. Six’s son-in-law, and that it was a Stark violation . . . “); id. ¶ 54 (offering

conclusion but no factual explanation of the basis for knowledge, who was involved, how they

were involved, or explanation of the scheme itself, “[e]mployees of PHS, HMC’s corporate parent,

were aware of this scheme . . .”).

                                           ARGUMENT

I.     RELATOR FAILS TO PLEAD AN FCA CLAIM WITH SPECIFICITY (FRCP 9(B)).

       To establish a cause of action under the FCA, a plaintiff must plead: “(1) a false statement

or fraudulent course of conduct; (2) that was made or carried out with the requisite scienter; (3)

that was material; and (4) that caused the government to pay out money (i.e., that involved a

claim).” U.S. ex rel. Spicer v. Westbrook, 751 F.3d 354, 365 (5th Cir. 2014). Rule 9(b) establishes

a high bar for pleading, and at a minimum “requires allegations of the particulars of time, place,

and contents of the false representations, as well as the identity of the person making the

representation and what the person obtained thereby. . . . Put simply, Rule 9(b) requires the ‘who,

what, when, where, and how’ of the fraud.” U.S. v. Emergency Staffing Sols., Inc., No. 3:19-CV-

1238-E, 2023 WL 2754347, at *4 (N.D. Tex. Mar. 31, 2023) (citations omitted). The Anti-

Kickback Statute and Stark Law can in certain circumstances serve as a basis for an FCA claim,

see U.S. ex rel. Thompson v. Columbia/HCA Healthcare Corp., 125 F.3d 899, 900 (5th Cir. 1997),


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but Relator has failed to state an FCA claim based on violations of the AKS or Stark Law.

       A.      Prime Healthcare Services, Inc. should be dismissed.

       Relator has not alleged any wrongful conduct on the part of PHSI but attempts to lump it

in with HMC. More is required to implicate a defendant in an FCA action. A complaint alleging

FCA violations must satisfy the requirements of Rule 9(b) “as to each Defendant, and it is

‘impermissible to make general allegations that lump all defendants together.’” U.S. ex rel. Frey

v. Health Mgmt. Sys., Inc., No. 4:21-CV-02024, 2023 WL 2563239, at *7 (S.D. Tex. Feb. 10,

2023), report and recommendation adopted, No. 4:21-CV-02024, 2023 WL 2564342 (S.D. Tex.

Mar. 17, 2023) (citation omitted). “A bedrock principle of corporate law is that ‘a parent

corporation . . . is not liable’ for actions taken by its subsidiaries.” Bridas S.A.P.I.C. v. Gov’t of

Turkmenistan, 447 F.3d 411, 416 (5th Cir. 2006) (quoting U.S. v. Bestfoods, 524 U.S. 51, 61

(1998)); see also Al Rushaid v. Nat’l Oilwell Varco, Inc., 757 F.3d 416, 423 (5th Cir. 2014)

(“Imputing to a party the actions of its codefendants merely on the ground that the entities are

jointly owned or controlled or share representation would contravene the fundamental principle of

corporate separateness.”). “It has been established that merely being a parent corporation of a

subsidiary that commits a FCA violation, without some degree of participation by the parent in the

claims process, is not enough to support a claim against the parent for the subsidiary’s FCA

violation.” U.S. ex rel. Hockett v. Columbia/HCA Healthcare Corp., 498 F. Supp. 2d 25, 59-60

(D.D.C. 2007) (internal citation omitted).

       Relator’s only allegation as to PHSI with any specificity is that it is the General Partner of

HMC. See FAC ¶ 10. There are only two paragraphs in the entire FAC discussing PHSI alone:

the allegation about ownership (¶ 10) and an assertion that employees of PHSI were aware of the

scheme but took no action because PHSI was profiting from the surgeries (¶ 54). This conclusory

allegation about knowledge of the “scheme” is backed up by no detail to make this allegation


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plausible and is a far cry from satisfying the particularity strictures of Rule 9(b). Not a single PHSI

representative is identified, nor is there any description of what PHSI learned when, or how it “was

profiting” from surgeries described in the FAC. Elsewhere, PHSI is indistinguishably linked with

HMC, Dr. Six and Mr. Gonzales or the “Defendants” in claiming PHSI knowledge of Dr. Six’s

relationship with Mr. Gonzales and Mr. Gonzales’s relationships with NuERA and Xspine/Xtant.

FAC ¶¶ 50 & 60-64. Finally, the same undifferentiated pleading is found in the allegations

lumping PHSI in with other Defendants in alleging a conspiracy. Id. ¶ 69.

       The FAC likewise fails to plead knowledge with regard to PHSI. The FAC concludes that

PHSI knew that Mr. Gonzales is Dr. Six’s son-in-law and then skips to the conclusion that the

relationship constituted a Stark Law violation. Id. ¶ 56. The FAC alleges “employees of PHS . .

. were aware of this scheme[,]” but do not name any employees, recount any conversations or

meetings, describe the source of any knowledge, or describe what aspects of the so-called

“scheme” these unidentified individuals had knowledge of. Id. ¶ 54. With regard to PHSI, the

FAC offers only conclusions and provides “no indicia of any actual knowledge of any FCA-

violating fraud.” Nunnally, 519 Fed. App’x at 893.

       At bottom, Relator’s theory seems to be that PHSI is a general partner of HMC, so all

allegations as to one must apply to the other. This completely disregards key tenets of corporate

and partnership law. See U. S. ex rel. Lewis v. Cmty. Health Sys., Inc., No. 18-20394-CIV, 2020

WL 3103994, at *19 (S.D. Fla. June 11, 2020) (concluding that a holding company cannot be “held

liable merely by virtue of its status as an owner, director or indirect, of the Managing Company

and the Hospitals”); U. S. ex rel. Heller v. Guardian Pharmacy, LLC, 521 F. Supp. 3d 1254, 1280-

81 (N.D. Ga. 2021) (dismissing parent company where “at best” the relator’s allegations

demonstrate that parent company “owns a significant portion of subsidiary and controls its macro-




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level operations, which are implemented at the local level by a separate team”). Accordingly, all

claims against PHSI should be dismissed.

       B.      No claim is pled with specificity nor is any “reliable indicia” pled.

       To survive a motion to dismiss, a complaint must allege either “the details of an actually

submitted false claim” or “particular details of a scheme to submit false claims paired with reliable

indicia that lead to a strong inference that the claims were actually submitted.” Grubbs, 565 F.3d

at 190 (emphasis added). Relator has done neither. It is indisputable that the FAC fails to plead

the actual details of any false claim submitted to a federal healthcare program. In the absence of

this, Grubbs provides an example of the “particular details” and “reliable indicia” required to

survive 9(b). In Grubbs, the Fifth Circuit reversed dismissal of a complaint for insufficient

pleading when the complaint “set[] out the particular workings of a scheme that was communicated

directly to the relator by those perpetrating the fraud” and the relator “describe[d] in detail,

including the date, place, and participants, the dinner meeting at which two doctors . . . attempted

to bring him into the fold of their on-going plot” and the relator’s “first-hand experience of the

scheme unfolding as it related to him, describing how the weekend on-call nursing staff attempted

to assist him in recording face-to-face physician visits that had not occurred,” and listed specified

services that were not provided, and the dates on which they were recorded. 565 F.3d at 191-92.

The Fifth Circuit concluded that in light of this volume of evidence, it “would stretch the

imagination” to say that fraudulent claims were not submitted to the Government. Id. at 190-91.

In comparison to the facts alleged in Grubbs, Relator’s Complaint leaves much to the imagination.

       Relator pleads no claim actually submitted to federal healthcare programs and no detail

about billing supporting an inference that claims were submitted. The FAC makes the conclusory

statement that “every bill . . . submitted to the USG or TSG” was a Stark Law and Anti-Kickback

violation but does not plead the details of a single claim submitted to the United States or State of


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Texas. FAC ¶¶ 53, 58. Moreover, the Complaint fails to add any reliable indicia about the

fraudulent scheme such as any details about the time, place, participants, and particular workings

of any billing department, claims rendered to patients as a result of the scheme, or the claims

submission practices of Defendants. The Complaint also makes no specific reference to any date

relevant to the scheme, such as the date Mr. Gonzalez and Dr. Six became related, the date Mr.

Gonzalez became affiliated NuERA and Xtant/Xpine, the date HCM began purchasing spinal

equipment from NuERA and Xtant/Xpine, or the date Dr. Six performed any surgery at HCM

using NuERA and Xtant/Xpine equipment. See Nunnally, 519 F.App’x. at 894 (“[The] complaint

fails to allege any particular details . . . or even to offer a time period more distinguishing than

‘since approximately 1992 and continuing to date.’ The complaint merely states that ‘relator

estimates that during [the] past six years [the defendant] has submitted thousands of such

overstated claims . . . “) (cleaned up).

        Instead, the FAC alleges broadly that the scheme has occurred over the last decade and

merely lists the general requirements for submitting claims to Medicare, Medicaid, and Tricare,

such as the requirement that “claims accurately reflect the services rendered and by whom.” Id. ¶

39. The FAC’s broad and conclusory language fails to specify the details or reliable indicia

regarding the alleged scheme, and is precisely the type of “baseless claims” used “as a pretext to

gain access to a ‘fishing expedition’” that the Fifth Circuit warned about when it described the

purpose of Rule 9(b). Grubbs, 565 F.3d at 190-91. Under the Fifth Circuit standard in Grubbs,

Relator has failed to plead a violation of the FCA, and the Court should dismiss the Complaint.

II.     RELATOR FAILS TO STATE AN FCA CLAIM BASED ON THE STARK LAW
        (FRCP 12(B)(6)).

        The Stark law “prohibits physicians from referring Medicare patients to an entity [such as

a hospital] for certain ‘designated health services’ including inpatient and outpatient hospital



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services, if the referring physician has a nonexempt ‘financial relationship’ with such entity.” U.S.

ex rel. Thompson v. Columbia/HCA Healthcare Corp., 125 F.3d 899, 902 (5th Cir. 1997) (quoting

42 U.S.C. § 1395nn(a)(1), (h)(6)) (explanatory bracket added). Distilled to its essence, a Rule

12(b)(6) analysis under the Stark Law proceeds as follows:

       Step 1: Are the following elements met?:

            1) Physician;

            2) making referrals;

            3) of Medicare patients;

            4) to an “entity” (e.g., a hospital);

            5) for Designated Health Services (e.g., inpatient and outpatient hospital services); and

            6) a direct or indirect “financial relationship” exists between physician (including an

            “immediate family member”) and the entity.

       Step 2: Does a relevant exception apply?

See generally 42 U.S.C. § 1395nn; 42 CFR § 411.353. If Step 1 is not met, the claim fails as a

matter of law and there is no need to consider the exceptions.

       If the prima facie elements are established and no exception applies, the entity cannot

present a claim to Medicare pursuant to a referral from a physician with whom it has a financial

relationship. 42 U.S.C. § 1395nn(a)(1)(B); 42 CFR § 411.353.




       A.      Relator fails to plead prima facie Stark Law elements with particularity.

       Relator has failed to plead the majority of the Stark Law’s prima facie elements. In fact,

the Complaint successfully pleads only two elements 1) that Eric Six is a physician (FAC ¶ 5),

and 2) HMC is a hospital that qualifies as an entity under Stark (Id. ¶ 9). See 42 CFR § 411.351


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(defining entity and physician). Relator attempts to allege a “financial relationship” between HMC

and NuERA or Xspine/Xtant, which in some unspecified manner one is left to assume passes a

financial benefit to Michael Gonzales, who became Dr. Six’s son-in-law at an unspecified time.

The Stark Law considers prohibited referrals to include immediate family members of a physician,

including a son-in-law, when there is a direct or indirect financial relationship between the

immediate family member and the hospital. See 42 CFR §§ 411.351; 411.353(a). But for the

reasons explained below, Relator’s allegations regarding NuERA and Xspine/Xtant are

insufficient to establish a Stark Law-regulated financial relationship.

       Moreover, the balance of the prima facie elements are pled with no detail. As discussed

above, the FAC pleads no specificity as to a single referral of a Medicare patient from Dr. Six

to HMC for Designated Health Services (“DHS”). Rather, the Complaint speaks in generalities

of Dr. Six performing spine surgeries at HMC, but there are no details of the types of procedures,

which patients, with what medical devices. FAC ¶¶ 5, 46-48, 57. Most critically, there is no

allegation with any detail that Dr. Six referred a Medicare patient to HMC, and the reader is even

left to interpret the type of DHS potentially implicated—inpatient hospital services. See 42 CFR

§ 411.351 (definition of DHS). The best Relator can muster is conclusory references to Medicare

claims. See FAC ¶¶ 66, 75, 81.

       B.      Relator pleads no Stark-regulated “financial relationship.”

       Relator fails to plead the existence of a financial relationship between HMC and Mr.

Gonzales. 2 A “financial relationship” under the Stark Law can either be a direct or indirect

compensation arrangement or an “ownership or investment interest.” 42 U.S.C. § 1395nn(a)(2);


2 Relator does not allege any compensation being paid from HMC to Dr. Six. Therefore, the
evaluation of whether a direct or indirect financial relationship exists is only relevant between
HMC and Mr. Gonzales.


                                                 12
42 CFR § 411.354. Here, Relator alleges no “ownership or investment interest” by Mr. Gonzales

or Dr. Six in HMC. The FAC appears instead to attempt to plead a compensation arrangement.

But, relator does not plead a direct compensation arrangement—i.e., a direct flow of compensation

from HMC to Dr. Six or Mr. Gonzales. Id. at § 411.354(a)(2)(i). 3 Instead, the Complaint attempts

to plead an indirect compensation arrangement by alleging that payments move from HMC to

third-party companies NuERA or Xspine/Xtant before they pass to Michael Gonzales. FAC ¶ 64.

However, the Stark Law imposes additional pleading obligations with respect to an indirect

compensation arrangement under 42 C.F.R. § 411.354(c)(2), which Relator cannot satisfy.

       To meet the definition of an indirect compensation arrangement—as required by the

alleged scheme outlined in this case—Relator must establish, “(1) there exists an unbroken chain

of any number of persons or entities that have financial relationships between them; (2) the

referring physician receives aggregate compensation that varies with, or takes into account, the

volume or value of referrals or other business generated by the referring physician for the entity

furnishing the designated health services, and (3) the entity has knowledge that the compensation

so varies.” U.S. v. Cath. Health Initiatives, No. 4:18-CV-123, 2022 WL 2657131, at *6 (S.D. Tex.

Mar. 31, 2022), report and recommendation adopted sub nom. Chihi v. Cath. Health Initiatives,

No. 4:18-CV-00123, 2022 WL 2652135 (S.D. Tex. July 8, 2022) (citations omitted and emphasis

added). More specifically, a plaintiff “must allege the entity ‘has actual knowledge of, or acts in

reckless disregard or deliberate ignorance of, the fact that the referring physician . . . receives

aggregate compensation that varies with the volume or value of referrals or other business



3 To allege a direct compensation relationship, Relator would have to show that compensation
passes directly between the referring physician, or immediate family member, and the entity
furnishing the medical service without any intervening person or entity. 42 C.F.R. §
411.354(c)(1)(i).


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generated by the referring physician.’” Id. 4 Courts have granted motions to dismiss for failure to

plead the elements of the indirect compensation definition. See id. Relator bears the prima facie

burden on each of these elements, without which Relator’s claim cannot proceed. 5

       HMC and PHSI do not challenge the sufficiency of pleading the first element—an

unbroken chain of financial relationships from HMC to NuERA (or Xspine/Xtant) to Michael

Gonzales. However, the second and third elements are not pled with specificity, or for that matter

at all. In this case, the second element asks whether aggregate compensation to Mr. Gonzales

varies with, or takes into account, the volume or value of referrals made by Dr. Six. Here, the

relevant question is the payment relationship between Mr. Gonzales and Xspine/Xtant (as Mr.

Gonzales takes the place of the referring physician because he is the immediate family member of

the physician) or between NuEra and HMC (because Mr. Gonzales has an alleged ownership

interest in NuEra). 6 No detail is pled about either of these payments. The Complaint pleads no



4 Relator’s lack of precision as to facts and timing underscores why Rule 9(b) exists to put the
defendant on notice of the allegations. This is highlighted in the context of the indirect
compensation definition, which has been revised twice in recent years, such that different text
governs different time periods (prior to January 19, 2021; from Jan. 19, 2021 to Dec. 31, 2021;
and from January 1, 2022 to present). See Appendix A for a comparison of how the language has
changed. Cath. Health Initiatives, 2022 WL 2657131, refers to the operative version before
January 19, 2021. The result, however, remains the same under all revisions of the definition, as
Relator’s FAC pleads no detail of any of the revised definitional elements other than the unbroken
chain of financial relationships.
5 This gating definitional section of “indirect compensation” should not be confused with the
separate Stark Law exception for indirect compensation found at 42 C.F.R. § 411.357(p).
6 If the financial relationship between the referring physician (in this case, Mr. Gonzales due to
the “immediate family member” definition) and the person or entity with which the referring
physician (Mr. Gonzales) has a direct financial relationship (i.e., NuERA or Xspine/Xtant) is an
ownership or investment interest, the determination of whether the aggregate compensation varies
with or takes into account the volume or value of referrals or other business generated will be
measured by the non-ownership/investment interest closest to the referring physician. 42 C.F.R.
§ 411.354(c)(2)(ii). For example, if the referring physician owns Company A, which owns
Company B, which has a compensation arrangement with Company C, which has a compensation



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detail about the financial relationship between NuERA and Mr. Gonzales other than a vague

statement about ownership, and most relevant for this analysis it pleads no detail of how the

agreement between NuERA and HMC is structured. FAC ¶¶ 7, 61. It further pleads no detail

about the financial relationship between Xspine/Xtant and Mr. Gonzales other than

“commissions.” FAC ¶ 64. Relator has not pled any detail about how and to what extent Mr.

Gonzales is compensated for medical devices that are purchased through these companies. No

detail is pled that payments to Mr. Gonzalez under this arrangement or any payment from HMC

to NuERA “varies with, or takes into account, the volume or value of referrals or other business

generated by the referring physician,” so the second element fails. The FAC similarly pleads no

detail of any knowledge or reckless disregard on the part of the HMC or PHSI, that the aggregate

compensation to Mr. Gonzales varies with the volume of referrals or HMC business generated by

Dr. Six. See e.g. Cath. Health Initiatives, 2022 WL 2657131 at *6 (holding that a Stark allegation

was not pled where the relator did not plead that the the hospital defendant knew there was a

connection between the volume or value of referrals it received from certain physicians and the

amount of indirect compensation those physicians received through a different related hospital).

Thus, the third element also fails. In sum, the allegations in the FAC do not satisfy the elements

of an indirect compensation arrangement, meaning the Stark Law does not apply to this conduct.

Relator’s claims premised on a Stark Law violation should be dismissed.


III.   RELATOR FAILS TO STATE AN FCA CLAIM BASED ON THE ANTI-
       KICKBACK STATUTE (FRCP 12(B)(6)).

       To state an FCA claim based on the AKS, Relator must plead that a healthcare provider 1)


arrangement with Company D, which is a DHS Entity, one would look to the aggregate
compensation between Company B and Company C. Id.




                                               15
knowingly and willfully 2) offered, paid, solicited, or received remuneration 3) in return for

referring an individual for federally funded medical services. 42 U.S.C. § 1320a-7b(b). Relator

must “sketch how it was that Defendant provided remuneration to its clients, the form of that

remuneration, how and why Defendant believed that remuneration would induce new business,

and how Defendant benefited from the remuneration.” U.S. ex rel. Ruscher v. Omnicare, Inc., No.

4:08-CV-3396, 2014 WL 2618158, at *10 (S.D. Tex. June 12, 2014), on reconsideration in part

sub nom. Ruscher v. Omnicare Inc., No. 4:08-CV-3396, 2014 WL 4388726 (S.D. Tex. Sept. 5,

2014).

         Here, the FAC fails to make any showing of remuneration. Relator alleges that HMC and

Dr. Six had a “scheme of mutual exploitation” through which HMC paid Dr. Six’s son in-law

Michael Gonzales through intermediate entities for medical devices when Dr. Six performed

surgeries at HMC. FAC ¶ 56. In fact, all that is pled is that HMC purchased medical devices.

Relator fails to allege that HMC in any way paid for medical devices that were unnecessary or that

HMC paid above fair market value for the devices from NuERA and Xspine/Xtant. The FAC

alleges no detail of what remuneration passed from HMC to Michael Gonzales through NuERA

and Xspine/Xtant. It is also significant that the Complaint pleads no allegation of remuneration

passing from Mr. Gonzales to Dr. Six. Indeed, Relator appears to conflate the Stark Law’s explicit

treatment of a physician’s immediate family members as relevant for purposes of determining the

presence of a financial relationship. See infra. However, the AKS contains no such rule. Under

the AKS, the remuneration must be provided to Dr. Six, but, no detail is pled of any remuneration

passing from HMC to Dr. Six—whether directly or through Mr. Gonzales.

         Along with the lack of remuneration, the Complaint fails to allege that HMC actually

induced the referral of any federal healthcare program patient. See U.S. ex rel. Nunnally v. W.




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Calcasieu Cameron Hosp., 519 Fed. App’x 890, 894 (5th Cir. 2013) (“actual inducement is an

element of the AKS violation . . . and [the plaintiff] must provide reliable indicia that there was a

kickback provided in turn for the referral of patients. This requires pleading that [the defendant]

knowingly paid remuneration to specific physicians in exchange for referrals.”); 42 U.S.C. §

1320a-7b(b)(2). No agreement, discussion, or event is alleged in the FAC about any kick-back

tainted understanding between HMC and Dr. Six. All that remains are “sweeping and conclusory

allegations.” Nunnally, 519 Fed. App’x at 894. Taking all that Relator alleges as true, the FAC

lacks the “details of a scheme” and lacks “reliable indicia that lead to a strong inference” that any

false claims were submitted by way of an AKS violation. U.S. v. Cath. Health Initiatives, 312 F.

Supp. 3d 584, 598 (S.D. Tex. 2018), aff'd sub nom. U.S. ex rel. Patel v. Cath. Health Initiatives,

792 F. App’x 296 (5th Cir. 2019).

       The FAC fails to allege HMC offered or paid any improper remuneration and that any

remuneration led to the inducement of any referral. Relator’s AKS theory should be properly

dismissed pursuant to Rule 12(b)(6).

IV.    RELATOR FAILS TO STATE A CONSPIRACY CLAIM UNDER THE FCA (FRCP
       12(B)(6)).

       The FCA, 31 USC § 3729(a)(1)(C), prohibits any person from “conspir[ing] to defraud the

Government by getting a false or fraudulent claim allowed or paid.” To prove an FCA conspiracy,

a plaintiff must show “(1) the existence of an unlawful agreement between defendants to get a

false or fraudulent claim allowed or paid by [the Government] and (2) at least one act performed

in furtherance of that agreement.” Grubbs, 565 F.3d at 195. The heightened pleading requirements

of Rule 9(b) apply as well to the FCA conspiracy provision. Id. To plead an FCA conspiracy, a

plaintiff must “plead with particularity the conspiracy as well as the overt acts . . . taken in

furtherance of the conspiracy.” Id. (quoting FC Inv. Group LC v. IFX Markets, Ltd., 529 F.3d



                                                 17
1087, 1097 (D.C. Cir. 2008).

       The FAC includes only threadbare allegations such as “Defendants were all aware of each

other’s activities and coordinated their efforts in a seamless course of conduct that persisted for

the greater part of a decade.” FAC ¶ 69. This allegation fails to plead any detail of “an unlawful

agreement between defendants to get a false or fraudulent claim allowed or paid” by the

government. Grubbs, 565 F.3d at 195. There must be a meeting of minds between defendants for

a conspiracy, but Relator does not identify which minds are alleged to have met. Other than

undifferentiated references to “Defendants,” Relator does not identify which of the defendants are

alleged to have participated in any conspiracy. Relator does not specify who allegedly conspired

with whom or how.

          Relator also fails to plead with particularity the second element of an FCA conspiracy

claim, “at least one act performed in furtherance of [an unlawful] agreement.” Grubbs, 565 F.3d

at 195.     Relator again offers conclusory summaries: “[t]hrough the acts described above,

Defendants entered one or more conspiracies” and “took substantial steps in furtherance of those

conspiracies.” FAC ¶¶ 81, 93. The “steps” in furtherance of a conspiracy, Relator alleges, were

“preparing false records and claims and submitting such documents” to the government. Id. ¶¶ 81,

93. No explanation or details are given for what those “false records” are, who prepared them, or

whether any records were even submitted to any federal healthcare program. Accordingly, Relator

has not pled any fact to illustrate even one specific “act performed in furtherance of” any unlawful

agreement. Grubbs, 565 F.3d at 195. Relator’s conspiracy claims should be dismissed.

V.     RELATOR FAILS TO STATE A CLAIM UNDER THE TMFPA (FRCP 12(B)(6)).

       Relator alleges violations of three subsections of the Texas Medicaid Fraud Prevention Act

(“TMFPA”), which serves as an enforcement mechanism for ensuring the integrity of the Texas

Medicaid Program. In re Xerox Corp., 555 S.W.3d 518, 525 (Tex. 2018). First, Relator attempts


                                                18
to plead a violation of § 36.002(4)(B), which prohibits knowingly making a false statement or

misrepresentation of material fact concerning information required to be provided by a federal or

state law pertaining to the state Medicaid program. This allegation is predicated on an underlying

violation of the AKS or Stark Law, and it fails to state a claim for the reasons outlined above.

       Next, Relator attempts to plead a violation of § 36.002(5), which prohibits knowingly

charging or receiving “in addition to an amount paid under the Medicaid program, a gift, money,

a donation, or other consideration as a condition to the provision of a service or product or the

continued provision of a service or product if the cost of the service or product is paid for, in whole

or in part, under the Medicaid program.” The FAC lacks any factual allegation that HMC or PHSI

paid “a gift, money, a donation, or other consideration” for any service or equipment beyond that

of its fair market value. Moreover, the FAC did not allege that any specific claims were even

submitted to Medicaid; the FAC made only a general conclusion that false claims were submitted

“via the Medicare, Medicaid, and TriCare system for payment or approval.” FAC ¶ 81.

       Finally, Relator’s attempts to allege a violation of § 36.002(9), which prohibits conspiring

to violate the previously stated subsections. Given the lack of facts to support violation of the

previous subsections or provide any factual allegations of overt acts, this claim also fails to satisfy

the plausibility requirement for pleading under Rule 9(b).

VI.    RELATOR SHOULD NOT BE GRANTED LEAVE TO AMEND.

       The Complaint should be dismissed with prejudice. Rule 15(a) instructs courts to give

leave to amend “freely,” but leave to amend is not automatic. Leave to amend is not appropriate

where the putative amendment would be futile or cause undue prejudice to the opposing party, or

when a party has repeatedly failed to cure deficiencies by amendments previously allowed. Relator

has already amended his complaint once and added no pleading detail that changes the outcome

of this question. Futility is present here, as Relator does not plead any first-hand knowledge and


                                                  19
is unlikely to make a better showing on repleading. There is no reason to believe Relator possesses

the factual knowledge to satisfy the elements of the alleged causes of action or that has access to

insider information to supplement his allegation. Relator will not be able to cure the deficiencies

described herein.
                                       RELIEF SOUGHT

       Harlingen Medical Center, L.P. and Prime Healthcare Services, Inc. move this Court to

dismiss Realtor’s Complaint with prejudice.


                                                     Respectfully Submitted,


                                                       /s/ Edward Michael Rodriguez
                                                     Edward Michael Rodriguez
                                                     Atlas Hall & Rodriguez LLP
                                                     222 N. Expressway 77
                                                     Ste 203
                                                     Brownsville, TX 78521
                                                     956-574-9333
                                                     Fax: 956-574-9337
                                                     Email: mrodriguez@atlashall.com

                                                       /s/ Michael E. Paulhus
                                                     Michael E. Paulhus (pro hac vice)
                                                     Stephanie F. Johnson (pro hac vice)
                                                     King & Spalding, LLP
                                                     1180 Peachtree Street NE, Suite 1600
                                                     Atlanta, GA 30309
                                                     (404) 572-4600
                                                     Email: mpaulhus@kslaw.com
                                                     Email: sfjohnson@kslaw.com

                                                     Attorneys for Defendants Harlingen Medical
                                                     Center L.P. and Prime Healthcare Services,
                                                     Inc.




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                                                                  APPENDIX A

                                 Stark Regulations: Indirect Compensation Arrangement (“ICA”) Definition
                                                          (42 C.F.R. § 411.354(c)(2))
                                        A Stark-regulated indirect compensation arrangement exists if –
        Prior to Jan. 19, 2021:                    From Jan. 19, 2021 to Dec. 31, 2021:                          Beginning Jan. 1, 2022:
Between the referring physician (or          Between the referring physician and the DHS             Between the referring physician and the DHS
immediate family member) and the             Entity there exists an unbroken chain of any            Entity there exists an unbroken chain of any
entity furnishing DHS (“DHS Entity”),        number of persons or entities (but not fewer than       number of persons or entities (but not fewer than
there exists an unbroken chain of any        one) that have financial relationships between          one) that have financial relationships between
number of persons or entities (but not       them; and                                               them; and
fewer than one) that have financial
relationships between them; and              The referring physician receives aggregate              The referring physician receives aggregate
                                             compensation from the person or entity in the           compensation from the person or entity in the chain
The referring physician receives             chain with which the referring physician has a          with which the referring physician has a direct
aggregate compensation from the              direct financial relationship that varies with the      financial relationship that varies with the volume
person or entity in the chain with which     volume or value of referrals or other business          or value of referrals or other business generated by
the referring physician has a direct         generated by the referring physician for the DHS        the referring physician for the DHS Entity; iv and
financial relationship that varies with,     Entity ii and the individual unit of compensation
or takes into account, the volume or         received by the referring physician –                   The amount of compensation that the physician
value of referrals or other business                                                                 receives per individual unit v –
generated by the referring physician for      • Is not fair market value for items and services
the DHS Entity, regardless of whether           actually provided;                                    • Is not fair market value for items and services
the individual unit of compensation                                                                     actually provided;
satisfies the special rules on unit           • Includes the physician’s referrals to the DHS
compensation set forth at 42 C.F.R. §           Entity as a variable, resulting in an increase or     • Could increase as the number or value of the
411.354(d)(2) and (d)(3); i and                 decrease in the physician’s compensation that           physician’s referrals to the DHS Entity
                                                positively correlates with the number or value          increases, or could decrease as the number or
The DHS Entity has actual knowledge             of the physician’s referrals to the entity; iii or      value of the physician’s referrals to the DHS
of, or acts in reckless disregard or                                                                    Entity decreases;
deliberate ignorance of, the fact that the    • Includes other business generated by the
referring physician receives aggregate          physician for the DHS Entity as a variable,           • Could increase as the amount or value of the
compensation that varies with, or takes         resulting in an increase or decrease in the             other business generated by the physician for
into account, the volume or value of            physician’s compensation that positively                the DHS Entity increases, or could decrease as
referrals or other business generated by        correlates with the number or value of the              the amount or value of the other business
the referring physician for the DHS             physician’s referrals to the entity; and                generated by the physician for the DHS Entity
Entity.                                                                                                 decreases; or
                                                   • The DHS Entity has actual knowledge of, or     • Is payment for the lease of office space or
                                                     acts in reckless disregard or deliberate         equipment or for the use of premises or
                                                     ignorance of, the fact that the referring        equipment; and
                                                     physician receives aggregate compensation
                                                     that varies with the volume or value of The DHS Entity has actual knowledge of, or acts in
                                                     referrals or other business generated by the reckless disregard or deliberate ignorance of, the
                                                     referring physician for the DHS Entity.      fact that the referring physician receives aggregate
                                                                                                  compensation that varies with the volume or value
                                                                                                  of referrals or other business generated by the
                                                                                                  referring physician for the DHS Entity.




i
   If the financial relationship between the referring physician and the person or entity with which the referring physician has a direct financial relationship is an
ownership or investment interest, the determination of whether the aggregate compensation varies with or takes into account the volume or value of referrals or
other business generated will be measured by the non-ownership/investment interest closest to the referring physician. 42 C.F.R. § 411.354(c)(2)(ii). For example,
if the referring physician owns Company A, which owns Company B, which has a compensation arrangement with Company C, which has a compensation
arrangement with Company D, which is a DHS Entity, one would look to the aggregate compensation between Company B and Company C. Id.
ii
    If the financial relationship between the referring physician and the person or entity with which the referring physician has a direct financial relationship is an
ownership or investment interest, the determination of whether the aggregate compensation varies with the volume or value of referrals or other business generated
will be measured by the non-ownership/investment interest closest to the referring physician. 42 C.F.R. § 411.354(c)(2)(ii)(C) (same example as above).
iii
     A positive correlation between two variables exists when one variable decreases as the other variable decreases, or one variable increases as the other variable
increases. 42 C.F.R. § 411.354(c)(2)(ii)(B).
iv
    If the financial relationship between the referring physician and the person or entity with which the referring physician has a direct financial relationship is an
ownership or investment interest, the non-ownership/investment interest closest to the referring physician is used to determine whether the aggregate compensation
varies with the volume or value of referrals or other business generated by the referring physician for the DHS Entity and whether the amount of compensation that
the physician receives per individual unit meets the conditions specified above. 42 C.F.R. § 411.354(c)(2)(ii)(C) (same example as above).
v
    The individual unit is (i) item, if the physician is compensated solely per item provided; (ii) service, if the physician is compensated solely per service provided,
which includes arrangements where the “service” provided includes both items and services; and (iii) time, if neither of the foregoing provisions is met. 42 C.F.R.
§ 411.354(c)(2)(ii)(B).
